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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

A.B. and C.B., on behalf of the minor
child, D.8.,
                                                   Civil Action No. :   2:77 -cv -02581-JD
                     Plaintiffs

  VS.


Tredyffrin/Easttown School District and
A*y A. Meisinger,
                     Defendants


              DEFENDANTS' ANSWER WITH AFFIRMATIVE DEFENSES
                        TO PLAINTIFFS' COMPLAINT

        Defendants Tredyffrin/EasttownSchool District ("TESD") and Amy A. Meisinger,

hereby file this Answer with Affirmative Defenses to Plaintiffs' Complaint and in support

of their Answer with Affirmative Defenses aver as follows:

                              SUMMARY OF THE ACTION

        1..    Admitted in part; denied in part. It is admitted that the Plaintiffs, A.B. and

C.B. on behalf    of the minor Plaintiff, D.B. bring this action against Defendants
Tredyffrin/Easttown School District and Amy A. Meisinger, Principal of Conestoga High

School pursuant to 42 U.S.C. S1983 and Title IX of the Education Amendments of               1.972,


20 U.S.C. S1681 (Title IX) to redress certain injuries which she sustained. It is denied that

Plaintiffs'conduct gives rise to a cause of action under 42 U.S.C. 51983 and Title IX of the

Education Amendments of 1972,20 U.S.C. 51681 (Title IX) and as such those averments

are deemed denied and strict proof is demanded at the time of trial of this matter.

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         2.       Admitted.

         3.       Admitted.

         4.       Admitted in part. It is admitted that Arthur E. Phillips ("Phillips") was an

instructional aide at Conestoga High School. Answering Defendants became aware that

Arthur    E.   Phillips had engaged in inappropriate sexual conduct with Minor Plaintiff only

after Minor Plaintiff's mother reported to school administration on or about April          18,


2017 concerns that she had concerning Arthur E. Phillips. Immediately upon such

notification school administration interviewed Minor Plaintiff and reported the matter to

the Tredyffrin/Easttown Police Department which immediately instituted a criminal

investigation. Mr. Phillips was immediately removed from school on the day that Minor

Plaintiff's mother made such report and was arrested three days later on April 21, 2017.

The remaining allegations contained          in Paragraph 4     are deemed denied     in   that

investigation is ongoing and strict proof thereof is demanded at the time of trial of this

matter.

          5.      Denied. The allegations contained in Paragraph 5 of Plaintiffs' Complaint

are denied.

          6.      Denied. The allegations contained in Paragraph 6 of Plaintiffs' Complaint

are denied.

          7.      Denied. The allegations averred     in Plaintiffs' Complaint as to what
Defendant, Phillips may have said to Minor Plaintiff are deemed denied in that after

reasonable investigation, Answering Defendants are without sufficient information to




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form a belief as to truth or falsity of such allegations and strict proof is therefore

demanded at the time of trial of this matter

      8.      Admitted

      9.      Admitted

                                         PARTIES

      10.     Admitted

      11.     Admitted

      1.2.    Admitted

      13.     Admitted

      1.4.    Admitted

      15.     Denied as stated. On the contrary, it is averred that at all times material and

relevant hereto Principal Meisinger was acting under color of her authority           in   her

capacity as Principal of Conestoga High School and strict proof to the contrary is

demanded at the time of trial of this matter

       1,6.   Denied. The allegations contained in Paragraph 16 of Plaintiffs' Complaint

are denied and strict proof is demanded at the time of trial of this matter.

                             IURISDICTION AND VENUE

       "17.   Admitted.

       18.    Admitted.

       1,9.   Admitted

       20     Admitted

       27     Admitted.

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                                  FACTUAL BACKGROUND

       22.     Admitted.

       23.     Denied. The allegations contained in Paragraph23 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied pursuant to the applicable Federal

Rules of Civil Procedure and strict proof to the contrary is demanded at the time of trial

of this matter.

       24.        Admitted.

       25.        Admitted.

       26.        Admitted.

       27.        Denied as stated. On the contrary, it is averred that Arthur Phillips, acting

as an employee, agent       or servant of the Tredyffrin/Easttown School District had passed

all criminal clearances and background checks and at all times material hereto was

believed by Tredyffrin/Easttown School District and Defendant, Principal Meisinger to

have no ethical        or moral issues since he had been in good standing with               the

Tredyffrin/Easttown School District, Conestoga High School and the Commonwealth of

Pennsylvania since his employment. Strict proof to the contrary is demanded at the time

of trial of this matter.

       28.        Admitted.

       29.        Denied.   It is expressly and specifically denied that the Defendant,
Tredyffrin/Easttown School District had allegedly already developed        a   policy or practice

of deliberate indifference to gender based harassment and discrimination. On                 the

contrary, it is expressly and specifically denied that such deliberate indifference existed.

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Further,   it is averred that the Defendants, Tredyffrin/Easttown           School District and

Principal Meisinger had appropriate policies to deal with gender based harassment and

discrimination and strict proof to the contrary is demanded at the time of trial of this

matter.

       30.      Answering Defendants are aware that Arthur Phillips was charged with

engaging in improper conduct with the Minor Plaintiff commencing around the time

when she was 15 years old. This information came to light when Plaintiff's mother

advised of an incident of which she became aware and immediately the police were

notified, Mr. Phillips was suspended and removed from school property and was

subsequently arrested on      April   21., 2017.   To the extent that improper conduct occurred,

the timing, extent and specifics were unknown to Answering Defendants at any time

prior to the Complaint made by Plaintiff's mother on or about April 18,2017. Skict proof

to the contrary is demanded at the time of trial of this matter.

          31.    Denied. Answering Defendants are without sufficient information to form

a belief as to the   truth or falsity of the averments contained in Paragraph 31 of Plaintiffs'

Complaint and as such, those averments are deemed denied and at issue pursuant to the

applicable Federal Rules of Civil Procedure and strict proof is demanded at the time of

trial of this matter.

          32.    Denied. Answering Defendants are without sufficient information to form

a belief as   to the truth or falsity of the averments contained in Paragraph3Z of Plaintiffs'

Complaint and as such, they are deemed denied and strict proof is demanded at the time

of trial of this matter.

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       33.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form belief as to the truth or falsity of the averments contained

in Paragraph 33 of Plaintiffs' Complaint and as such, said allegations are deemed denied

and strict proof is demanded at the time of trial of this matter

       34.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief as to the truth or falsity of the averments contained

in Paragraph 3a of Plaintiffs' Complaint and as such, said allegations are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter. By way of further answer, Answering

Defendants do admit that videos indicate that Minor Plaintiff was a passenger in a vehicle

operated by Mr. Phillips

       35.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief    as   to the truth or falsity of the averments contained

in Paragraph 35 of Plaintiffs' Complaint and as such, said allegations are deemed denied

and at issue and strict proof to the contrary is demanded at the time of trial of this matter

       36.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 36 of Plaintiffs' Complaint and as such, said allegations are deemed denied

and at issue and strict proof to the contrary is demanded at the time of trial of this matter

       37.    Denied. After reasonable investigation Answering Defendants are without

sufficient inJormation to form   a   belief as to the truth or falsity of the averments contained




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in Paragraph3T of Plaintiffs' Complaint and as such, said allegations are deemed denied

and at issue and strict proof to the contrary is demanded at the time of trial of this matter.

         38.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in Paragraph 38 of Plaintiffs' Complaint and as such, said allegations are deemed denied

and at issue and strict proof to the contrary is demanded at the time of trial of this matter.

         39.    Denied as stated. Answering Defendants are without sufficient information

to form a belief as to the truth or falsity of the averments as set forth in Paragraph 39 of

Plaintiffs' Complaint as they relate to allegations that the alleged act was witnessed by

teachers and students. By way of further answer, Answering Defendants expressly deny

that any administrators witnesses such an act, if in fact it occurred. Strict proof to the

contrary is demanded at the time of trial of this matter.

         40.    Denied. Answering Defendants are without sufficient information to form

a   belief as to the truth or falsity of the averments as set forth in Paragraph 40 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         41..    Denied. Answering Defendants are without sufficient information to form

a belief as to the   truth or falsity of the averments   as set   forth in Paragraph 41 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

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         42.    Denied. Answering Defendants are without sufficient information to form

a   belief as to the truth or falsity of the averments as set forth in Paragraph42 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         43.    Denied. Answering Defendants are without sufficient information to form

a   belief as to the truth or falsity of the averments as set forth in Paragraph a3 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         44.     Denied. Answering Defendants are without sufficient information to form

a belief as to the   truth or falsity of the averments   as set   forth in Paragraph44 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

          45.    Denied. Answering Defendants are without sufficient information to form

a   belief as to the truth or falsity of the averments as set forth in Paragraph a5 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civit Procedure and strict proof to the contrary is demanded at the time

of trial 0f this matter.

          46.    Denied. Answering Defendants are without sufficient information to form

a   belief as to the truth or falsity of the averments as set forth in Paragrapha6 of Plaintiffs'

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Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         47.    Denied. Answering Defendants are without sufficient in{ormation to form

a belief as to the   truth or falsity of the averments   as set   forth in Paragraph4T of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         48.    Denied. Answering Defendants are without sufficient information to form

a belief as to the   truth or falsity of the averments   as set   forth in Paragraph 48 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         49.    Denied. Answering Defendants are without sufficient information to form

a   belief as to the truth or falsity of the averments as set forth in Paragraph49 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         50.    Denied. Answering Defendants are without sufficient information to form

a belief as to the   truth or falsity of the averments   as set   forth in Paragraph 50 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable



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Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         51.     Denied. Answering Defendants are without sufficient in{ormation to form

a   belief as to the truth or falsity of the averments as set forth in Paragraph 51 of Plaintiffs'

Complaint and as such, they are deemed denied and at issue pursuant to the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

         52.     Admitted in part. It is admitted that a video which has been produced to

Plaintiffs depicts Mr. Phillips taking Minor Plaintiff to a Wawa convenience store in Paoli.

The remaining allegations contained in Paragraph 52 are deemed denied in that after

reasonable investigation Answering Defendants are without sufficient information to

form    a belief as   to the truth or falsity of same and strict proof is demanded at the time of

trial of this matter.

         53.     Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief as to the truth or falsity of the averments contained

in Paragraph 53 and as such, they are deemed denied and strict proof is demanded at the

time of trial of this matter.

          54.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form      a   belief as to the truth or falsity of the averments contained

in Paragraph 54 and as such, they are deemed denied and strict proof is demanded at the

time of trial of this matter.



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       55.      Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief as to the truth or falsity of the averments contained

in Paragraph 55 and as such, they are deemed denied and skict proof is demanded at the

time of trial of this matter.

          56.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 56 and as such, they are deemed denied and strict proof is demanded at the

time of trial of this matter.

       57.      Admitted in part. It is admitted that on occasions, Piera Raffaele, a teacher

at Conestoga High School accompanied Phillips and Minor Plaintiff to restaurants

immediately after the school day. However, by way of further answer, this knowledge

was not known to Answering Defendants at any time prior to Minor Plaintiff's mother

advising the administration on or about April 78,2017 and Mr. Phillips' arrest and

subsequent investigation. Strict proof is therefore demanded at the time of trial of this

matter.

       58.      Admitted in part. It is admitted that after investigation, subsequent to the

report by Minor Plaintiff's mother on or about April 18,2017 and subsequent to the arrest

of Mr. Phillips that apparently Ms. Raffaele and Ms. Raffaele's husband had went to

dinner with Minor Plaintiff and Phillips. It is expressly denied that at any time material

to this cause of action and before Minor Plaintiff's mother advising the school of this

conduct on or about April 18, 2077 and Mr. Phillips' arrest on              April   21,, 2017 that




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Answering Defendants have any knowledge this conduct was occurring. Strict proof to

the contrary is demanded at the time of trial of this matter.

       59.    Admitted in part; denied in part. It is admitted that Ms. Raffaele would

have been aware that the Minor Plaintiff was a student at Conestoga High School and

Phillips was an aide at Conestoga High School. It is expressly denied that at any time

prior to Minor Plaintiff's mother reporting inappropriate conduct to the                  school

administration on or about April 18,2017 and Mr. Phillips' subsequent arrest on or about

April 2'1,2017 and the subsequent police investigation were Answering Defendants ever

aware that such "double date" with Ms. Raffaele and her husband had ever occurred.

Strict proof is demanded at the time of trial of this matter.

       60.    Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form a belief as to the truth or falsity of the averments contained

in Paragraph 60 of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure.

       61,.   Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 61 of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

       62.    Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph6Tof Plaintiffs' Complaint and as such, those averments are deemed denied

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and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

       63.    Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 63 of Plaintiffs'Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

       64.    Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form a belief    as   to the truth or falsity of the averments contained

in Paragraph6Lof Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter. By way of further answer,

it is expressly and specifically denied that Answering               Defendants had any such

knowledge of such inappropriate conduct at any time prior to                 April   1,8, 2017, the

subsequent police investigation and arrest of Mr. Phillips on or about April 21,,2017 and

strict proof to the contrary is demanded at the time of trial of this matter.

       65.    Admitted.

       66.    Admitted in part; denied in part. It is admitted that during his 10 years of

employment at Conestoga High School, Phillips sometimes purchased soft pretzels, cake

or candy to diskibute to the faculty and/or students. The remaining allegations of

Paragraph 66 are deemed denied            in that after    reasonable investigation Answering



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Defendants are without sufficient information to form a belief as to the truth or falsity

and strict proof is demanded at the time of trial of this matter.

       67.        Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in Paragraph6T of Plaintiffs' Complaint strict proof to the contrary is demanded at the

time of trial of this matter.

          68.     Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in Paragraph 68 of Plaintiffs' Complaint and as such, those averments are deemed denied

and strict proof to the contrary is demanded at the time of trial of this matter.

          69.     Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in Paragraph6g of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

          70.     Denied. By way         of further answer, this Honorable Court in             its

Memorandum and Order docketed on June 71,,2018 dismissed these allegations as not

stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).



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          71,. Denied. By way of further answer, this Honorable Court in                         its

Memorandum and Order docketed on June 1L,2018 dismissed these allegations as not

stating   a   claim under S19S3 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          72.     Denied. After reasonable investigation, Answering Defendants are without

sufficient inJormation to form a belief      as   to the truth or falsity of the averments contained

in Paragraph72of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

          73.      Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in ParagraphTS of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the conkary is demanded at the time of trial of this matter.

          74.      Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in ParagraphT4of Plaintiffs'Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.




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          75.     Denied. A{ter reasonable investigation, Answering Defendants are without

sufficient information to form     a   belief as to the truth or falsity of the averments contained

in Paragraph71 of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

          76.     Denied. After reasonable investigation, Answering Defendants are without

sufficient information to form a belief as to the truth or falsity of the averments contained

in Paragraph76 of Plaintiffs' Complaint and as such, those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

to the contrary is demanded at the time of trial of this matter.

          77.     Admitted in part; denied in part. It is admitted that there are cameras

directed towards one of the entry/exit points of Conestoga High School regularly used

(Old State Road "bus circle" exit). The remaining allegations are deemed denied in that

after reasonable investigation Answering Defendants are without sufficient information

to form a belief as to the truth or falsity thereof and strict proof is demanded at the time

of trial 0f this matter.

          78.     Denied as a conclusion of law.

          79.     Denied. By way         of further answer, this Honorable Court in             its

Memorandum and Order docketed on June 11.,2018 dismissed these allegations as not

stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of




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the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          80.     Denied. By way       of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 11.,20\8 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          81.     Denied. By way       of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 11,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          82.      Denied. By way      of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 11.,2018 dismissed these allegations as not

stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          83.      Denied. By way      of further     answer, this Honorable Court      in   its

Memorandum and Order docketed on June 11.,2018 dismissed these allegations as not

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stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          84.     Denied. By way       of further     answer, this Honorable Court      in   its

Memorandum and Order docketed on June 11,,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process C1ause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          85.      Denied. By way      of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 1'1.,2018 dismissed these allegations as not

stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          86.      Denied. By way      of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 71.,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

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          87.     Denied.   By way of {urther answer, this Honorable Court in                its

Memorandum and Order docketed on June 17,2018 dismissed these allegations as not

stating   a   claim under S19S3 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          88.     Denied. By way       of further    answer, this Honorable Court       in   its

Memorandum and Order docketed on June 1'1,,2078 dismissed these allegations as not

stating   a   claim under S19S3 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          89.     Denied.   By way of further        answer, this Honorable Court       in   its

Memorandum and Order docketed on June 11,,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          90.      Denied. By way      of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 11.,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodity integrity guaranteed by the Due Process Clause of

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the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          91,.    Denied.   By way of further        answer, this Honorable Court      in    its

Memorandum and Order docketed on June 11,,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          92.     Denied. By way       of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 11,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          93.     Denied. By way       of further    answer, this Honorable Court       in   its

Memorandum and Order docketed on June 11,,2018 dismissed these allegations as not

stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          94.      Denied. By way      of further answer, this Honorable Court in            its

Memorandum and Order docketed on June 11.,2078 dismissed these allegations as not

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stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          95.     Denied.   By way of further            answer, this Honorable Court      in   its

Memorandum and Order docketed on June 11,2018 dismissed these allegations as not

stating   a   claim under S1983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          96.     Denied. By way       of further answer, this Honorable Court in               its

Memorandum and Order docketed on June 11,,2018 dismissed these allegations as not

stating   a   claim under 51983 because such failures do not amount to deliberate indifference

to D.B.'s constitutional right to bodily integrity guaranteed by the Due Process Clause of

the Fourteenth Amendment of the United States Constitution. (See Page 7 of this

Honorable Court's Memorandum).

          97.     Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief    as   to the truth or falsity of the averments contained

in Paragraph97 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.




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       98.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief as to the truth or {alsity of the averments contained

in Paragraph 98 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       99.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph99 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       100.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 100 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       101. Denied. It is expressly and specifically denied that "multiple agents"
andf or "employees" of ConestogaHighSchoolandTredyffrin/Easttownhadbothactual

and constructive notice of the allegedly excessive closed door meetings between Phillips

and Plaintiff.   It is expressly denied that any administrators of Tredyffrin/Easttown
Conestoga High School or Principal Meisinger had any notice of such alleged closed door

meetings. The remaining allegations          of   Paragraph 101   of Plaintiffs' Complaint    are

deemed denied and strict proof is demanded at the time of trial of this matter.

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      1.02. Admitted in part. It is admitted that Ms. Raffaele's classroom was in close

proximity to the TV studio. The remaining allegations are deemed denied.

      103.    Denied

       704.   Denied

      105.    Denied

       706.   Denied

      1,07. Denied. After    reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in ParagraphT}T of Plaintiffs' Complaint and as such those averments are deemed denied

and strict proof is demanded pursuant to the applicable Federal Rules of Civil Procedure

      108.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 108 of Plaintiffs' Complaint and as such those averments are deemed denied

and strict proof is demanded pursuant to the applicable Federal Rules of Civil Procedure

      709.    Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 109 of Plaintiffs' Complaint and as such those averments are deemed denied

and strict proof is demanded pursuant to the applicable Federal Rules of Civil Procedure.

      110.    Denied.   It is expressly denied that there existed a culture of indifference

that Tredyffrin/Easttown created. Strict proof to the contrary is demanded at the time of

trial of this matter. As to the remaining allegations of Paragraph 110 of Plaintiffs'

Complaint, Answering Defendants are without sufficient information to form a belief            as


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the truth or falsity of the reasons why Plaintiff withdrew from activities and as such the

averments are denied and strict proof is demanded at the time of trial of this matter.

       111,. It is admitted that Plaintiff's grades declined. Answering Defendants aver

that they were unaware as to the reason for such decline and that teachers' provided

assistance in helping her attempt to elevate her grades.

       772. Admitted      upon information and belief.

       113. Admitted      upon information and belief.

       11,4. Admitted upon information and belief.

       115.   Admitted upon information and belief.

       1L6. Admitted      upon information and belief.

       117.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 717 of Plaintiffs' Complaint and as such, those averments are deemed

denied and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict

proof is demanded at the time of trial of this matter.

       118.   Admitted.

       119. Admitted.
       120. Admitted.
       121. Admitted      upon information and belief.
       -1,22. Admitted.




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       1,23. Denied    as stated. On the   contrary, Assistant Principal Dilella and Principal

Meisinger discussed with Plaintiff issues which she might be experiencing. Strict proof is

demanded at the time of trial of this matter.

       1.24. Admitted.

       725. Admitted.
       1,26. Admitted.

       1.27. Denied

       128.   Denied

       729.   Denied

       130    Denied. Answering Defendants aver that at no time did Assistant Principal

Bankert make the statement to any person that an alleged incident "made the hair on the

back of my neck standup". As such, the averments contained              in   Paragraph 130 of

Plaintiffs' Complaint refer to an alleged incident which is denied and strict proof is

demanded at the time of trial of this matter

       131.   Denied as stated. On the contrary, it is averred that in or about April2017

Assistant Principal Bankert told Dr. Dunleavy that she needed to check on Plaintiff

because in speaking    with her he did not feel that something was correct. He followed up

in his conversations with Plaintiff by referring his perceptions to Dr. Dunleavy for her

professional follow up and strict proof is demanded at the time of trial of this matter

       732. Denied. By way of further          answer, this Honorable Court      in its Order

docketed on June 11,,2078 dismissed these allegations as not stating a claim under 51983

because such failures do not amount deliberate indifference to D.B.'s constitutional     right

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to bodily integrity guaranteed by the Due Process Clause of the Fourteenth Amendment

of the United States Constitution. (See PageT of this Honorable Court's Order).

       133.   Denied. After reasonable investigation Answering Defendants are without

sufficient inJormation to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 133 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       134.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form   a   belief as to the truth or falsity of the averments contained

in Paragraph 134 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       135.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief as to the truth or falsity of the averments contained

in Paragraph 135 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       736.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief    as   to the truth or falsity of the averments contained

in Paragraph 136 o{ Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

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       137.   Denied. After reasonable investigation Answering Defendants are without

sufficient information to form a belief   as   to the truth or falsity of the averments contained

in ParagraphT37 of Plaintiffs' Complaint and as such those averments are deemed denied

and at issue pursuant to the applicable Federal Rules of Civil Procedure and strict proof

is demanded at the time of trial of this matter.

       138.   Admitted upon information and belief.

       '1,39. Admitted.

       140. Admitted      upon inJormation and belief.

       1,41,- Admitted upon information and belief. Although the exact date when the

letter was removed from the website is continuing.

       '1,42. Admitted upon inJormation and belief.

       143.   Denied. The allegations contained in Paragraph 143 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied pursuant to the applicable Federal

Rules of Civil Procedure and strict proof to the contrary is demanded at the time of trial

of this matter. By way of further answer, it is expressly denied that at any time prior to

April 18, 2017 when a report was made to the Tredyffrin/Easttown and Conestoga

administrators were they aware of inappropriate conduct occurring between Mr. Phillips

and Minor Plaintiff and strict proof is demanded at the time of trial of this matter. By way

of further answer, it is expressly denied that Phillips' conduct was open, notorious and

outrageous and strict proof is demanded at the time of trial of this matter.

            Tredyffrin/Easttown's Recent History of Sex-Related Scandals

       1.44. Admitted.

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        745. Admitted
        1.46. Admitted

        1,47. Denied. After reasonable investigation, Answering Defendants          are without

sufficient information to form a belief as to the truth or falsity of the averments as set

forth in Paragraphl47 of Plaintiffs' Complaint and       as such   they are deemed denied and

strict proof to the contrary is demanded at the time of trial of this matter

        1,48. Denied    as stated. On the   contrary, it is averred that allegations forming the

basis   for the March   201,6   hazing incident were later disproven wherein the Plaintiff

recanted his statement and the District Attorney of Chester County withdrew all but

summary offense charges against three boys. Strict proof to the contrary being demanded

at the time of trial of this matter

        1.49. Denied. It is expressly denied that several older Conestoga High           School

male students allegedly sodomized the victim with a broom handle. On the contrary,

Chester County District Attorney and the police investigation confirmed that no such

crime had occurred. Rather, those three students pled guilty to summary offense and all

other charges were dismissed. Strict proof to the conkary being demanded at the time of

trial of this matter

        150. Denied. It is denied that the incident referred to in              Paragraph 749

specifically Upper Class Conestoga High School male students allegedly sodomizing the

victim with a broom handle was true. On the contrary, police investigation determined

that such averments were not true and the three alleged assailants pled guilty to



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summary offenses and strict proof to the contrary is demanded at the time of trial of this

matter

         151. Admitted in part. It is admitted that the Tredyffrin/Easttown          School

District claimed that it had no knowledge of the football team's rituals or traditions which

in any way involved hazing, certainly, were unaware of the allegations that were
subsequently made. Strict proof is demanded at the time of trial of this matter. By way of

further answer, Answering Defendants expressly deny that Conestoga High School and

Tredyffrin/Easttown engaged in a known pattern of "rgrrorance, violence and a lack of

supervision" and strict proof to the contrary is demanded at the time of trial of this

matter.

          152. It is admitted that three Tredyffrin/Easttown   students were charged with

distributing or offering to share sexually explicit images; including photographs. It is

denied that the School District administration had any knowledge of this conduct before

the boys were charged. Admitted in part that the fourth boy was charged several days

later. By way of further answer, the alleged texting of sexual explicit images did not occur

at Conestoga High School but rather allegedly at Valley Forge Middle School and

Tredyffrin/Easttown Middle School. It is averred that Answering Defendants had no

such knowledge that this texting was going on and strict proof          to the contrary is
demanded at the time of trial of this matter.

         153. Admitted. It is admitted that the students attended Valley     Forge Middle

School and Tredyffrin/Easttown Middle School.




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       154. Denied. It is expressly and specifically denied that the School District
engaged in or established a pattern of deliberate and reckless indifference to alleged signs

of ongoing sexual harassment and alleged sexual abuse which allegedly created a culture

in its schools that permitted Phillips predatory conduct. On the contrary, it is averred that

Answering Defendants promulgated numerous policies specifically addressing the

issues of the non-tolerance of any type of harassment which were promulgated on the

District website. At no time did the District tolerate or show indifference to signs of any

sexual harassment but when the District determined it had occurred immediately acted

in accordance with law in notifying the appropriate police authorities and strict proof is

demanded at the time of trial of this matter.

       155.   Denied. The allegations contained in Paragraph 155 are expressly denied.     It

is expressly and specifically denied that the school administration knew or had reasons

to know that Phillips was acting inappropriately towards the Minor Plaintiff.          Such

knowledge was not communicated to the District or its administrators until on or about

April 18,2017 when Minor Plaintiff's mother reported such to the District. Immediately,

Mr. Phillips was suspended and the Tredyffrin/Easttown Police were called. Subsequent

to an interview by the police of Minor Plaintiff, Mr. Phillips was arrested on April 2L,

2017 - Therefore,   the moment the District was aware of any alleged impropriety the police

were summoned and Phillips was immediately suspended and removed from the school.

Strict proof to the contrary is demanded at the time of trial of this matter. The remaining

allegations contained in Paragraph 155 of Plaintiffs' Complaint contain conclusions of

law which are denied and strict proof is demanded at the time of trial of this matter. It is

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expressly denied that any culture of indifference existed by any        of the Answering

Defendants named herein.

       156. Denied. It is expressly and specifically denied that any member of the
school's administration or Answering Defendants knew or should have known that

Phillips was acting inappropriately towards Minor Plaintiff or that the school district

failed to take any action against Phillips. On the contrary, Answering Defendants were

not aware of the improper conduct of Phillips until Minor Plaintiff's mother reported

same   to administration on April 78, 2017 at which time Phillips was immediately

removed from the school and subsequently arrested on April21,, 2017. The remaining

allegations contained in Paragraph 156 of Plaintiffs' Complaint are expressly denied and

strict proof is demanded at the time of trial of this matter.

       757.     Denied. It is expressly and specifically denied that Answering Defendants

failed to take legally required action once give notice of the inappropriate conduct of

Phillips.   It is expressly denied that as an alleged consequential failure by the School
District or its employees to take meaningful, effective andf or legally required action that

Phillips was able to continue his course of conduct and persist in his sexual harassment

and sexual abuse of Minor Plaintiff for months. On the contrary, the Answering

Defendants had no actual or constructive notice of the improper conduct that was

occurring between Phillips and Minor Plaintiff and immediately upon receiving

notification from Minor Plaintiff's mother of same the District acted to remove Mr.

Phillips from the premises, report his conduct to the appropriate authorities; including

Tredyffrin/Easttown Police Department and such action resulted in the arrest of Mr.

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Phillips on or about April 27,2017. Strict proof to the contrary is being demanded at the

time of trial of this matter.

        158. Admitted in part; denied in part. It is admitted that the District       reported

Phillips' conduct to law enforcement on April 78, 2017. It is further averred that that is

the first moment when the District had notification of Mr. Phillips' illegal conduct. Strict

proof to the contrary being demanded at the time of trial of this matter.

        159.    Denied. On the contrary,     it is averred that Tredyffrin/Easttown   has and

continues to take reasonable steps to protect its students from misconduct. By way of

further answer, it is expressly denied that the high level officials knew or should have

known about the danger that Phillips posed. Strict proof is demanded at the time of trial

of this matter.

        1,60. Denied. It is expressly and specifically denied that Tredyfhin/Easttown

was aware of the inappropriate conduct of Phillips. On the contrary, immediately upon

becoming aware of such inappropriate conduct he was suspended and removed from the

school premises, the police were notified, he was arrested and ultimately charged on

April   21., 2017.   Strict proof to the contrary being demanded at the time of trial of this

matter.

          1,61,. Denied. Certain of the allegations contained in Paragraph 161 of Plaintiffs'

Complaint contain conclusions of law which are deemed denied and strict proof is

demanded at the time of trial of this matter. By way of further answer, it is expressly and

specifically denied that Tredyffrin/Easttown or the Defendant, Principal Meisinger or

Superintendent of the School District, Richarg Gusick, Ed.D., failed to maintain and/or

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enforce policies to protect the rights of Minor Plaintiff and strict proof is demanded at the

time of trial of this matter.

       1,62. Denied.    The allegations contained in Paragraphl62 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and strict proof is demanded at the

time of trial of this matter. On the contrary,    it is averred that Answering   Defendants

appropriately maintained and enforced policies which were implemented to protect

Plaintiff's constitutional and federal statutory rights and strict proof to the contrary is

demanded at the time of trial of this matter.

       1,63. Denied.    The allegations contained in Paragraph 163 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the

applicable Federal Rules of Civil Procedure. By way of further, it is expressly averred that

Defendant, Tredyffrin/Easttown took appropriate and reasonable steps to promulgate

and implement reasonable safe guards to avoid acts of unlawful sexual conduct by

Phillips. By way of further answer, certain of the averments contained in Paragraph 163

had been dismissed by the Memorandum/Opinion docketed by this Honorable Court on

June 1L,2018 dismissing these allegations as not stating a claim under 51983 because such

failures do not amount to deliberate indifference to D.B.'s constitutional right to bodily

integrity guaranteed by the Due Process Clause of the Fourteenth Amendment of the

United States Constitution. (See Page7 of this Honorable Court's Memorandum).

       764. Admitted in part; denied in part. It is admitted that                Defendant,

Tredyffrin/Easttown is responsible and in fact properly trained and supervised its

employees. The remaining allegations contain conclusions of law which are deemed

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denied and at issue pursuant to the Federal Rules of Civil Procedure and strict proof is

demanded at the time of trial of this matter

       765.       Denied. The allegations contained in Paragraph 165 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the

applicable Federal Rules of Civil Procedure and strict proof to the contrary being

demanded at the time of trial of this matter.

       1,66. Denied

       1,67. Denied. It is expressly and specifically denied that the conduct of the

Defendants was wanton andf or outrageous and demonstrated a reckless indifference to

the rights of others, including Minor Plaintiff. Strict proof to the contrary being

demanded at the time of trial of this matter.

       1,68. Denied.      The allegations contained in Paragraph 168 of Plaintiffs' Complaint

conclusions of law which are deemed denied pursuant to the Federal Rules of Civil

Procedure and strict proof is demanded at the time of trial of this matter.      It is further

averred that the Answering Defendants, Tredyffrin/Easttown did in fact promulgate

policy procedures and customs which were appropriate and designed to protect Plaintiff.

Strict proof to the contrary is demanded at the time of trial of this matter of this matter.

       769.       Denied. On the contrary, Answering Defendant, Tredyffrin/Easttown did

in fact train its employees to detect and report sexual harassment, sexual abuse or any

type of sexual discrimination. Strict proof to the contrary is demanded at the time of trial

of this matter.




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       170. Denied. It is expressly denied that Answering                      Defendant,

Tredyffrin/Easttown failed to take reasonable steps to protect the Plaintiff from abuse

After reasonable investigation, the remaining allegations contained in Paragraph 170 are

deemed denied in that Answering Defendant is neither able to admit nor deny those

averments and strict proof thereof is demanded at the time of trial of this matter.

       771.    Denied. The allegations contained in ParagraphTTT of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the

applicable Federal Rules of Civil Procedure. Strict proof to the contrary is demanded at

the time of trial of this matter

       172.    Denied. The allegations contained in Paragraphl72of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue and strict proof to the

contrary is demanded at the time of trial of this matter.

                                   COUNT I
                          PLAINTIFFS V. DEFENDANTS
                 CIVIL RIGHTS VIOLATION UNDER 42 U.S.C. S1.983

       173.    The Answers to the allegations contained in Paragraphs 1 through 172 are

incorporated herein as though more fully set forth herein.

       174.    Denied. The allegations contained in Paragraphl7| contain conclusions of

law which are deemed denied and at issue pursuant to the applicable Federal Rules of

Civil Procedure and strict proof to the contrary is demanded at the time of trial of this

matter. By way of further answer,      it is expressly   denied that there existed in the

Tredyffrin/Easttown School District a custom, practice andf or policy of deliberate

indifference   to   sexual harassment and sexual abuse        of students andf or active
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concealment of instances of known or suspected sexual harassment and sexual abuse of

students and strict proof to the contrary is demanded at the time of trial of this matter.

          775.   Denied. The allegations contained in Paragraphl7l of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the

applicable Federal Rules of Civil Procedure and strict proof to the contrary is demanded

at the time of trial of this matter.

          176. Denied. It is expressly denied that there existed any custom, practice
andf     or policy of deliberate indifference at the Tredyffrin/Easttown School District

initiated or maintained by administrative personnel and strict proof to the contrary is

demanded at the time of trial of this matter.

          177.   Denied. It is expressly denied that any such alleged custom, practice andf or

policy existed.

          178.   Denied. Answering Defendants expressly and specifically deny that their

conduct was reckless, negligent and/or careless and that they acted in disregard for the

safety of their students. Strict proof to the contrary being demanded at the time of trial of

this matter.

          779.   Denied. The allegations contained Paragraph 179 of Plaintiffs'Complaint;

including Subparagraphs (a through s) are expressly and specifically denied. By way of

further answer/ the allegations    as set   forth in Subparagraphs (b), (.), (g), (k) and (n) have

been dismissed by this Honorable Court in its Memorandum Order docketed on june 11,

201.8,   dismissing these allegations as not stating   a   claim under 51983 because such failures

do not amount to deliberate indifference to D.B.'s constitutional right to bodily integrity

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guaranteed by the Due Process Clause of the Fourteenth Amendment of the United States

Constitution. (See Page7 of this Honorable Court's Memorandum).

         180.   Denied.

         181.   Denied.

         182.   Denied.

         183.   Denied.

         184.   Denied.

         185.   Denied as a conclusion of law.

         186.   Denied. By way of further answer,     it is expressly denied that Answering

Defendants acted to be deliberately indifferent or to promulgate custom, practices andf or

policies which in any way failed to protect Minor Plaintiff herein. Strict proof to the

contrary is demanded at the time of trial of this matter.

         187.   Denied. By way of further answer, Answering Defendants were not aware

of any inappropriate conduct between Phillips and Minor Plaintiff until Minor Plaintiff's

mother reported same to the administration on April 18,2017 at which time Phillips was

immediately suspended, removed from the school premises and arrested on Aprll21,

2017.   Strict proof to the contrary is demanded at the time of trial of this matter.

         188.   Denied. By way of further answer, Answering Defendants were not aware

of any inappropriate conduct between Phillips and Minor Plaintiff until Minor Plaintiff's

mother reported same to the administration on April 78,2077 at which time Phillips was

immediately suspended, removed from the school premises and arrested on Aprll21.,

2017.   Strict proof to the contrary is demanded at the time of trial of this matter.
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       189.    Denied. The allegations contained in Paragraph 189 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue and strict proof is

demanded at the time of trial of this matter.By way of further answer,             it is expressly

denied that any conduct of answering defendants constitutes outrageous negligence and

shocks the conscious of this Court. Strict proof to the contrary is demanded at the time of

trial of this matter.

       190.    Denied. The allegations contained in Paragraph 190 of Plaintiffs'Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the Federal

Rules of Civil Procedure and strict proof to the contrary is demanded at the time of trial

of this matter.

        191,. Denied.     The allegations contained in Paragraph   191,   of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the Federal

Rules of Civil Procedure and strict proof to the contrary is demanded at the time of trial

of this matter.

        192.      Denied. It is expressly denied that any custom, practice andf or policies of

Tredyffrin/Easttown contributed to the Plaintiffs' injuries. The remaining allegations

contained in Paragraphlg2 of Plaintiffs' Complaint contain conclusions of law which are

deemed denied and at issue pursuant to the applicable Federal Rules of Civil Procedure

and strict proof to the contrary is demanded at the time of trial of this matter. By way of

further answer, it is expressly and specifically denied that any custom, practice or policy

of Tredyffrin/Easttown in any way contributed to the past, present or alleged ongoing



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injuries of the Plaintiff and strict proof to the contrary is demanded at the time of trial of

this matter

       WHEREFORE, Answering Defendants demand judgment                      in their    favor

dismissing Plaintiffs' Complaint.

                                      COUNT II
                        PLAINTIFFS V. TREDYFFRIN/EASTTOWN
                        VIOLATIONS OF TITLE IX.20 U.S.C. 51581

       193.   The Answers to the allegations contained in Paragraphs L through 192 are

incorporated herein as though more fully set forth herein.

       194.   Denied.

       195.   Denied.

       196. Denied. By way of further Answer, it is expressly denied that
Tredyffrin/Easttown created andf or subjected Plaintiff          to a hostile educational
environment in violation of Title IX of the Education Amendments of 1972 nor failed to

promulgate appropriate policies and procedures used           to properly investigate    and

address sexual assault and subsequent harassment. Strict proof           to the contrary    is

demanded at the time of trial of this matter.

       1.97. Denied. It is expressly and specifically denied that Tredyffrin/Easttown

and its officials had actual knowledge of Phillips' sexual misconduct and the resulting

harassment of Plaintiff.

       198.   Denied.

       1,99. Denied.



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          200.   Denied. The allegations contained in Paragraph 200 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied pursuant to the applicable Federal

Rules of Civil Procedure and strict proof to the contrary is demanded at the time of trial

of this matter. By way of further answer, it is expressly and specifically denied that the

Defendants acted with deliberate indifference towards the Minor Plaintiff. Strict proof to

the contrary being demanded at the time of trial of this matter.

          201,. Denied.    The allegations contained in Paragraph2)1. of Plaintiffs' Complaint

are expressly denied.

          202.   Denied. The allegations contained in Paragraph212 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied and at issue pursuant to the

applicable Federal Rules of Civil Procedure and strict proof to the contrary is demanded

at the time of trial of this matter. By way of further answer, Answering Defendants

expressly and specifically deny that the policy aforementioned in Paragraph 201 which

was expressly and specifically denied in any way allowed for disparate treatment of

females and had a disparate impact on female students as such policy pattern and

practice did not exist.

       203.      Denied.   It is expressly and specifically denied that Tredyffrin/Easttown

had actual notice of the relationship involving Phillips and Minor Plaintiff and had an

opportunity to rectify the alleged violation, discrimination but failed to do so. On the

contrary, Tredyffrin/Easttown did not have such knowledge until on or about April 18,

2017 at   which time Minor Plaintiff's mother reported such relationship between Phillips

and Minor Plaintiff to the appropriate authorities within the District. Immediately,

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Phillips was suspended, removed from the school, the police were notified, all

appropriate reporting agencies were notified and on April 21,2017 Phillips was arrested

Strict proof to the contrary being demanded at the time of trial of this matter.

       204.      Denied. The allegations contained in Paragraph}}A of Plaintiffs'Complaint

are expressly denied.

       205.      Denied. The allegations contained in Paragraph 205 of Plaintiffs'Complaint

are deemed denied in that they corrtain conclusions of law which are denied pursuant to

the applicable Federal Rules of Civil Procedure and strict proof is demanded at the time

of trial of this matter

       206.      Denied. The allegations contained in Paragraph206 of Plaintiffs' Complaint

contain conclusions of law which are deemed denied pursuant to the applicable Federal

Rules of Civil Procedure and strict proof to the contrary is demanded at the time of trial

of this matter

       207.      Denied.   It is expressly and specifically denied that Tredyffrin/Easttown
had actual notice of the harassment and the alleged hostile environment and were

"deliberately indifferent" to the alleged harassment and hostile environment. On the

contrary, no such actual notice existed

       208.      Denied. The allegations contained in Paragraph 208 contain conclusions of

law which are deemed denied and at issue pursuant to the applicable Federal Rules of

Civil Procedure and strict proof to the contrary is demanded at the time of trial of this

matter. By way of further answer, Answering Defendants are without sufficient

information to form a belief as to reasonable investigation as to the injuries Plaintiff has

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allegedly suffered and     will allegedly suffer in the future and as such strict proof to the

contrary is demanded at the time of trial of this matter.

       209.     Denied. The allegations contained in Paragraph2}9 of Plaintiff's Complaint

contain conclusions of law which are deemed denied and at issue under the applicable

Federal Rules of Civil Procedure and strict proof to the contrary is demanded at the time

of trial of this matter.

       WHEREFORE, Answering Defendants demand judgment                       in their favor
dismissing Plaintiffs' Complaint.

                                 AFFIRMATIVE DEFENSES

       Answering Defendants incorporate by reference their responses contained in

Paragraphs 1 tfuough2}g of Plaintiffs' Complaint as though more fully set forth herein.

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiffs' Complaint fails to state a cause of action against the Defendant under 42

u.s.c. s1983.

                            SECOND AFFIRMATIVE DEFENSE

       Answering Defendants were given no actual notice or constructive notice of

misconduct on behalf of Arthur Phillips. Answering Defendants were not deliberately

indifferent to the misconduct of Arthur Phillips.

                             THIRD AFFIRMATIVE DEFENSE

       There was no policy or practice or custom of Answering Defendants which caused

any constitutional injury to the Plaintiff.




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                          FOURTH AFFIRMATIVE DEFENSE

       Answering Defendants' policies, practices or customs did not play an affirmative

role in bringing about the alleged sexual abuse or injuries to the Plaintiff.

                            FIFTH AFFIRMATIVE DEFENSE

       Any alleged failure on the part of Answering Defendants which failure                is

specifically denied to act or to investigate cannot be the basis of liability under 51983

                            SIXTH AFFIRMATIVE DEFENSE

       Punitive damages are not available against Answering Defendant which is              a

municipal entity

                         SEVENTH AFFIRMATIVE DEFENSE

       Respondeat Superior liability is unavailable under 42U.5.C. 51983.

                          EIGHTH AFFIRMATIVE DEFENSE

       Answering Defendants took prompt and appropriate action to address the matter

complained in Plaintiffs' Complaint.

                           NINTH AFFIRMATIVE DEFENSE

       Plaintiffs' causes of action against Answering Defendants are barred by qualified

or official immunity

                           TENTH AFFIRMATIVE DEFENSE

       The 51983 claims do not arise from the custom, practice or policy or failure to train

and as suclu Answering Defendants are not liable pursuant to the terms and provisions

of 51983.




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                           ELEVENTH AFFIRMATIVE DEFENE

        Answering Defendants aver that governmental, custom or policy was not the

proximate cause       of the alleged constitutional violation and therefore Answering
Defendants cannot be found liable under 51983.

                           TWELFTH AFFIMATIVE DEFENSE

        The alleged conduct averred in Plaintiffs' Complaint does not rise to a practice

which is so wide spread that the policy making officials have either actual or constructive

notice of same and as such no recovery is available to plaintiff herein.

                         THIRTEENTH AFFIRMATIVE DEFENSE

        The conduct of Answering Defendants does not rise to the standard of "shocking

the conscious of the Court" and as such does not afford a remedy under 51983

                        FOURTEENTH AFFIRMATIVE DEFENSE

        The claims of the Plaintiff do not give rise to a cause of action pursuant to Title IX,

20   u.s.c.   s1681

                                            Respectfully Submitted,

                                                                  & OBERLIES


                                            BY
                                                   J        P.   CONNOR,III
                                                   7      est Lancaster Avenue
                                                          PA 19301
                                                      q e0-2810 - phone
                                                   (610) 640-1520 - fax
                                                   iconnor@cwolaw.com
                                                   Attorneys for Defendants
                                                   Tredyffrin Easttown School District
                                                   and Amy A. Meisinger

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                               CERTIFICATE OF SERVICE

       I, JOSEPH P. CONNOR, III, ESQUIRE, hereby certify on this 25ft day of June, 2018,

a true and   correctcopy of the Defendants'Answer to Plaintiffs'Complaintwas served upon

the following counsel of record by way of ECF:

                                Matthew A. Casey, Esquire
                              Brian J. McCormick, Jr., Esquire
                                 Ross, Feller & Casey, LLP
                               1650 Market Street, Suite 340
                                  Philadelphia, PA 191.03
                                   Attorneys for Plnintiffi


                                          CONNOR, WEBER & OBERLIES




                                                           P.   CONNOR,III, ESQUIRE
                                                           Lancaster Avenue
                                                       PA 19301
                                                       640-2870 - phone
                                                 (61,0) 640-1,520   -   fax
                                                 iconnor@cwolaw.com
                                                 Attorney for Defendants
                                                 Tredyffrin Easttown School District
                                                 and Amy A. Meisinger




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